  Case: 1:20-cv-00570 Document #: 143 Filed: 07/24/20 Page 1 of 3 PageID #:4652




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

DISH NETWORK L.L.C.,
             Plaintiff,
                v.                                 Case No. 20-cv-00570
COX MEDIA GROUP, LLC, APOLLO
GLOBAL MANAGEMENT, INC, APOLLO
INVESTMENT FUND IX, LP., TERRIER                   Hon. Thomas M. Durkin
MEDIA BUYER, INC., NBI HOLDINGS,
LLC, AP IX TITAN HOLDINGS GP, LLC,
AP IX (PMC) VOTECO, LLC, BRYSON
BROADCAST HOLDINGS, LLC,
NORTHWEST BROADCASTING, L.P.,
NORTHWEST BROADCASTING, INC.,
CAMELOT MEDIA BUYER, INC., AND
CAMELOT MEDIA HOLDINGS, LLC,
             Defendants.


    DEFENDANT COX MEDIA GROUP, LLC’S FEDERAL RULE OF
      CIVIL PROCEDURE 7.1 CORPORATE DISCLOSURE AND
       LOCAL RULE 3.2 NOTIFICATION AS TO AFFILIATES

      Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 3.2, Defendant

Cox Media Group, LLC states that it is a wholly owned subsidiary of Cox Enterprises,

Inc. Cox Enterprises, Inc. is a privately held corporation.




                                           1
Case: 1:20-cv-00570 Document #: 143 Filed: 07/24/20 Page 2 of 3 PageID #:4653




   Dated: July 24, 2020            Respectfully submitted,

                                   /s/ Patricia Brown Holmes
                                   Patricia Brown Holmes
                                   Joshua D. Lee
                                   Brian O’Connor Watson
                                   Allison N. Siebeneck
                                   RILEY SAFER HOLMES & CANCILA LLP
                                   70 W. Madison Street, Suite 2900
                                   Chicago, IL 60602
                                   (312) 471-8700
                                   pholmes@rshc-law.com
                                   jlee@rshc-law.com
                                   bwatson@rshc-law.com
                                   asiebeneck@rshc-law.com

                                   Counsel for Cox Media Group, LLC




                                     2
  Case: 1:20-cv-00570 Document #: 143 Filed: 07/24/20 Page 3 of 3 PageID #:4654




                          CERTIFICATE OF SERVICE

      I certify that on July 24, 2020, these papers were filed using the Court’s

CM/ECF system, which will provide notice to all counsel of record.

                                       /s/ Brian O. Watson
                                       Counsel for Cox Media Group, LLC


4817-0624-9924, v. 1




                                         3
